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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

 THE BOARD OF REGENTS OF THE                           §
 UNIVERSITY OF TEXAS SYSTEM,                           §
                Plaintiff,                             §
 v.                                                    §
                                                       §         A-24-CV-1524-DAE
 ALNYLAM PHARMACEUTICALS                               §
 INC. AND ALNYLAM U.S., INC.,                          §
                Defendants.                            §

                                     ORDER SETTING HEARING

        Before the court are Defendants’ Motion to Stay Discovery Pending Resolution of its

Motion to Dismiss and/or Transfer (Dkt. 38), Defendants’ Motion for Protective Order on

Depositions and Discovery Requests (Dkt. 50), and all related briefing.1

        The court SETS these motions for a hearing conducted electronically over Zoom at 10:00

a.m. on July 1, 2025. Instructions for joining the hearing will be provided to the named attorneys

via email prior to the hearing.




          SIGNED June 12, 2025.
                                                            _______________________________
                                                            MARK LANE
                                                            UNITED STATES MAGISTRATE JUDGE




    1
      These motions were referred by Senior United States District Judge David A. Ezra to the undersigned for
resolution pursuant to 28 U.S.C. § 636(b), Federal Rule of Civil Procedure 72, and Rule 1(c) of Appendix C of the
Local Rules of the United States District Court for the Western District of Texas. See Text Orders dated April 30,
2025 and June 6, 2025.
